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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
 PEN AMERICAN CENTER, INC.,                                    :
                                              Plaintiff,       :
                                                               :   18 Civ. 9433 (LGS)
                            -against-                          :
                                                               :        ORDER
 DONALD J. TRUMP,                                              :
                                              Defendant, :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by Order dated October 1, 2020, Defendant’s motion for interlocutory appeal

of the March 24, 2020, Opinion & Order, and a stay of discovery pending resolution of

Defendant’s petition for an interlocutory appeal, was granted (Dkt. No. 110). It is hereby

        ORDERED, that by October 22, 2020, Defendant shall file a status letter apprising the

Court of the status of the petition.


Dated: October 16, 2020
       New York, New York
